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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
Dionna Harrell,                                    :
                                                   : Civil Action No.: 2:17-cv-02960-MSG
                         Plaintiff,                :
        v.                                         :
                                                   :
Rite Aid Corporation; and DOES 1-10,               :
Inclusive,                                         :
                                                   :
                         Defendants.               :
                                                   :

       JOINT REPORT BY COUNSEL TO THE COURT OF RULE 26(f) MEETING

        In compliance with Federal Rule of Civil Procedure 26(f), counsel for the parties jointly
report as follows:

1. Jurisdiction: State the basis for jurisdiction of the Court: Federal question jurisdiction under 28
U.S.C. § 1331 as this matter arises from the Telephone Consumer Protection Act, 47 U.S.C. §
227.

Rite Aid reserves the right to argue that this Court lacks subject matter jurisdiction due to lack of
Article III standing and/or on the basis that the Federal Communications Commission has the
primary jurisdiction to address the issues here.

Rite Aid also contends that Plaintiff has sued the wrong entity. Rite Aid Corporation is a holding
company. It does not have any employees and does not own or operate pharmacies in
Pennsylvania. The entity that administers the prescription notification calls at issue in this case
is “Rite Aid Hdqtrs. Corp.” It is a subsidiary of Rite Aid Corporation and is the correct entity
here.

2. Trial:
                   (a)   Jury Trial                           _____X______
                   (b)   Non-Jury Trial                        ____________
                   (c)   Arbitration                          ____________
                   (d)   Cross Motions for Summary
                         Judgment (no testimony required)    ____________
                                                             (Check One)
3. Plaintiff Counsel: Name(s) of Plaintiff counsel attending Rule 16 Conference:

        Sergei Lemberg & Stephen Taylor, Lemberg Law, LLC



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4. Defense Counsel: Name(s) of Defense counsel attending Rule 16 Conference:

        Lisa Yun, Sheppard, Mullin, Richter & Hampton LLP

5. Date of Rule 26 Conference: State the date the parties held required Rule 26 Conference:

        September 5, 2018.

6. Compliance with Rule 26(a) Self-Executing Disclosure Requirement: Have all parties
complied with Rule 26(a) duty of self-executing disclosure?

        (a)        Yes_____ No__X__ (Check One)
        (b)        If no, state date compliance will occur: ___September 28, 2018________

7. Discovery:

        (a) Fact Discovery

        (i)        The parties anticipate that fact discovery will be completed within
                   120 days.

        (iii)      Do the parties anticipate serving Interrogatories and/or Requests
                   for Production?

                   Yes__X__ No_____ (Check One)

        (iv) Have Interrogatories and/or Requests for Production been served?

                   Plaintiff Yes______ No___X___ (Check One)
                   Defendant Yes______ No__X___ (Check One)

(b)     Expert Discovery

                   Does either side anticipate the use of experts?
                   Plaintiff Yes__X__ No_____ (Check One)
                   Defendant Yes_X__ No_____ (Check One)

(c) Electronic Discovery

        It is expected that the parties will reach an agreement on how to conduct electronic
        discovery. In the event the parties cannot reach such an agreement before the Rule 16
        scheduling conference, the Court will enter an order incorporating default standards. The
        default order can be viewed on the Court’s web site at the link for “Judges’ Info”, then
        proceed to “District Court Judges”, then proceed to “Joseph F. Leeson, Jr.” to view
        “Order Governing Electronic Discovery”.



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(d) Claims of Privilege

        Have the parties discussed issues relating to claims of privilege or of protection of trial-
        preparation material, as required by Rule 26(f)(3)(D)?

        Yes__X__ No_____ (Check One)

(e) Other Discovery Issues

        Identify any other discovery issues which should be addressed at the Rule
        16 Conference, including limitations on discovery, protective Orders needed, or other
        elements which should be included in a particularized discovery plan.

        Rite Aid anticipates that a protective order will be necessary to govern the production and
        handling of privileged, confidential, proprietary, HIPAA-protected, and otherwise
        sensitive discovery materials in this matter. Rite Aid contends that a protective order is
        particularly important in this case given that the allegations concern prescription
        medication alerts protected by federal and state privacy laws.

8. Case Dispositive Motions: Does either side expect to file a case-dispositive motion?

        (a) Plaintiff Yes__X_ No____ (Check One)

                   (i)    If yes, under what Rule: __Fed. R. Civ. P. 56____________________

        (ii) If yes, specify the issue(s): _____Following Discovery, Plaintiff intends on filing a
        motion for summary judgment on the issues of liability and damages under the TCPA.
        Further, Plaintiff intends on amending his complaint to assert class action allegations.
        Plaintiff anticipates filing a motion for class certification following the close of
        discovery.

        (b) Defendant Yes__X__ No____ (Check One)
                (i) If yes, under what Rule: ___ Fed. R. Civ. P. 56_______________________
                (ii) If yes, specify the issue(s): Rite Aid will oppose any motion for class
certification and reserves the right to bring an affirmative motion to deny or limit class
certification. Rite Aid anticipates filing a motion for summary judgment on the issue of liability
and damages under the TCPA.

9. Settlement:

        Local Rule 53.3 requires litigants in all civil actions to consider the use of an
        alternative dispute resolution process (“ADR”), such as mediation or settlement
        conferences. The parties should familiarize themselves with this Rule before responding
        to the following questions.

        (a)        (i) Do the parties want to explore with the Court the possibility of


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                          settlement at the Rule 16 Conference?

                          Plaintiff Yes__X___ No____ (Check One)
                          Defendant Yes_X___ No_____ (Check One)

                   (ii) Will all counsel have full authority to settle at Rule 16 Conference?
                           Yes____ No_X__ (Check One)

        (b)        Has the Plaintiff submitted a demand for settlement to Defendant?
                          Yes____ No__X___ (Check One)

        (c)        Is a settlement conference at a future date likely to be helpful? ___No____
                   If so, when:

        Plaintiff believes that a settlement conference will be constructive following the filing of
        Plaintiff’s amended complaint asserting class allegations and sufficient discovery to
        determine the scope of class laiblity.


        (d)        Explain any decision not to seek early resolution through ADR, and
                   provide any other pertinent information about the discussions the parties have had
                   about ADR: __Absent discovery, the Parties do not believe an additional ADR
                   conference will be fruitful

10. Estimated Trial Ready Date: Approximate date case should be trial-ready: April 19, 2019.

11. Estimated Number of Days for Trial:
              (a) For Plaintiff’s case: ___4__________
              (b) For Defendant’s case: 1 (if an individual case); unknown (if any class is
certified)

12. Disposition by U.S. Magistrate Judge: Following consultation with your clients, do you agree
to proceed before a U.S. Magistrate Judge for final disposition?
               Yes_____ No__X__ (Check One)
               If yes, all counsel are to sign the attached Consent and Reference of a Civil
               Action to a Magistrate Judge form and return to Judge Leeson’s Chambers at least
               48 hours before the Initial Rule 16 Pretrial Conference. Thereupon the Initial Rule
               16 Conference will be cancelled by Judge Leeson, the case will be re-assigned to
               the docket of Judge Perkin, and Judge Perkin will determine future scheduling of
               the case.

13. Other Matters: Indicate discussion and any agreement on any matters not addressed above, or
such matters upon which the involvement of the Court is requested.
__________________________________________________________________

14. Summary of Claims, Defenses and Relevant Issues: The Complaint and Answer


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are docketed with the Court and available for review, however, the facts supporting those claims
and defenses are not fully known. Therefore, both sides are to set forth concisely the factual
background that the parties contend support their claims and defenses (not to exceed one page in
length per party):

        Plaintiff: contends that Defendant violated the TCPA by placing prerecorded telephone
calls to her cellular telephone number without her prior express consent in attempts to reach
another person. Plaintiff contends that Defendant persisted on placing such calls to her number
even after Plaintiff advised Defendant was calling the wrong party.
        Plaintiff intends on amending her complaint to assert claims on behalf of a class of
similarly situated consumers.

        Defendant: Rite Aid contends it did not violate the TCPA. Plaintiff has been a Rite Aid
patient since 2001 and agreed in writing that Rite Aid could contact her regarding refill
reminders. Plaintiff also applied for and received a discount card from Rite Aid, and thereby
agreed to be marketed to by Rite Aid. Furthermore, Rite Aid cannot be liable for the calls
because the TCPA completely exempts prescription notification calls at issue here under the
emergency purpose exemption. The calls at issue pertained to the health and safety of another
Rite Aid patient who signed up for the prescription alerts using the phone number Plaintiff
claims is her number. The patient’s prescription history shows that he suffered from severe
medical conditions that urgently required potentially life-saving prescription medication. Thus,
as requested, Rite Aid sent the patient alerts notifying him when his prescriptions were ready for
pick up. This patient never revoked his consent. Since these prescription alerts were intended to
protect the health and safety of Rite Aid’s patient, the calls are covered by the emergency
purpose exception and are completely exempt from the TCPA.

        Rite Aid opposes any attempt to amend the complaint to add class claims and class
certification is not appropriate here.

  /s/Sergei Lemberg
___________________________________         /s/ Lisa Yun
                                         _________________________________
(Signature)                               (Signature)
Name of Attorney: Sergei Lemberg           Name of Attorney: Lisa Yun
Counsel For: Plaintiff __________________ Counsel For: Defendant
Law Firm Name: Lemberg Law         ______ Law Firm Name: Sheppard, Mullin, Richter &
                                                             Hampton LLP
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E-Mail: _slemberg@lemberglaw.com______ E-Mail: lyun@sheppardmullin.com
Date: __8/29/2018_____________________ Date: 9/14/2018




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